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 RIO GRANDE

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 JONATHAN DEWILDE WILLIAMS,             CIVIL NO. CV17-00481 KJM

                    Plaintiff,
                                         ORDER GRANTING DEFENDANT
       vs.                               RIO GRANDE'S PETITION FOR
                                         DETERMINATION OF GOOD
 COVINGTON ENGINEERING                   FAITH SETTLEMENT [ECF #114],
 CORP., RIO GRANDE, DAYTON               FILED 3/12/19
 ELECTRICAL MFG. CO., TEXTILE
 BUFF & WHEEL COMPANY, INC.,
 JOHN DOES 1-5, JOHN DOE
 CORPORATIONS 1-5, JOHN DOE
 PARTNERSHIPS 1-5, ROE NON-
 PROFIT ORGANIZATIONS 1-5,              Trial Date: 05/21/19
 AND ROE GOVERNMENT                     Trial Judge: Kenneth J. Mansfield
 AGENCIES 1-5,

                    Defendants.
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               ORDER GRANTING DEFENDANT RIO GRANDE'S
                 PETITION FOR DETERMINATION OF GOOD
                FAITH SETTLEMENT [ECF #114], FILED 3/12/19

       On March 12, 2019, Defendant Rio Grande (“Rio”) filed its Petition for

 Determination of Good Faith Settlement (“Petition”). [ECF #114.] The Petition

 seeks a determination that the settlement among Plaintiff Jonathan DeWilde

 Williams, Defendant Rio, and Defendant Textile Buff & Wheel Company, Inc.

 (“Textile”), upon full execution, will be made in good faith pursuant to Hawaii

 Revised Statutes (“HRS”)§ 663-15.5 such that Rio and Textile are completely

 discharged from any and all liability for any contribution to and/or indemnification

 to any other joint tortfeasor or co-obligor. The Petition specifically represents that

 all statutory notice requirements have been met and that all remaining parties to

 this action have consented to the relief sought in the Petition.

       WHEREFORE, after carefully considering the Petition and the terms of the

 proposed settlement, along with the factors set forth in Troyer v. Adams, 102 Haw.

 399, 77 P.3d 83 (2003), and HRS § 663-15.5, Rio’s Petition is hereby GRANTED.

       IT IS HEREBY ORDERED that:

       (a)    The settlement was made in good faith pursuant to Hawaii Revised

              Statutes § 663-15.5; and




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      (b)   Proper notice was given to all known joint tortfeasors and co-obligors

            in this action and all of the notice requirements of HRS § 663-15.5

            have been fully satisfied; and

      (c)   Defendants Rio and Textile are fully and completely discharged from

            any and all liability for any contribution to and/or indemnification to

            any other joint tortfeasor or co-obligor.



 Dated: Honolulu, Hawaii, March 14, 2019.

 APPROVED AND SO ORDERED.




                         Kenneth J. Mansfield
                         United States Magistrate Judge




  Jonathan DeWilde Williams v. Covington Engineering Corp., et al.; Civil No.
  CV17-1-00481-KJM, United States District Court, District of Hawaii; ORDER
  GRANTING DEFENDANT RIO GRANDE'S PETITION FOR
  DETERMINATION OF GOOD FAITH SETTLEMENT [ECF #114], FILED
  3/12/19


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